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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

LOURDES MIRLES.
Plainul,
v, CASE NO. 6:20-CV-1144-ORL-41DCI

GOLDEN SAL LLC, d/ba DAYS
INN BY WYNDITAM KISSIMMEE

Defendant.

SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS UNDER THE FAIR
LABOR STANDARDS ACT OF 1938, 29 U.S.C. $201, et seg. (“FLSA”)

THIS SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS UNDER
THE FAIR LABOR STANDARSD ACT (“Agreement”) is made by and between LOURDES
MIRLES (“Plaintif) and GOLDEN SAJ, LLC, d/b/a DAYS INN BY WYNDHAM
KISSIMMEE (“Defendant”),
WHEREAS, Plaintiff through the above-referenced case alleged unpaid overtime
compensation was due to her pursuant to the Fair Labor Standards Act (“FLSA”).
WHERLAS, Defendant denies liability and/or any other wrongdoing with respect
to Piainulf,
WHEREAS, Plaintiffand Defendant wish lo avoid litigation and settle and resolve
the controversy between them amicably and expeditiously:
NOW, THEREFORE. in consideration of the mutual covenants set forth herein and
other good and valuable consideration, the receipt and sufficiency of which are hereby

acknowledged, it is hereby
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STIPULATED AND AGREED by and between the undersigned parties that the
above-entitled matter is hereby resolyed_as follows:

I. RECITALS. The foregoing recitals are true and correct and are

 

incorporated herein by this reference.

a RELEASE OF FLSA CLAIMS.

a This Agreement shall constitute a release of all claims Plaintiff
might have under the FLSA against Defendant,

b. Upon execution of this Agreement, the parties shall immediately file
a Joint Motion for Approval of Settlement and Dismissal of this case, with prejudice,

c. Plaintiff hereby knowingly and voluntarily releases and forever
discharges Detendant, its parents, predecessors, successors, assigns, subsidiaries, affiliates,
insurers, and owners, and their past, present and future directors. officers, shareholders, members.
employees, agents, insurers andiattorneys both individually and in their capacities as directors,
owners, officers, sharcholders, members, employces, agents, insurers and attomeys (collectively
“Releasees”) of and from any and all claims arising under the FLSA against any of the Releasees
which Plaintiff has or riight have as of the date of the execution of this Agreement.

3. SETTLEMENT SUMMARY,

. a. If the parties receive an Order from the Court approving this
settlement and dismissing this casc. with prejudice, then, within 10 days of the latter of the Court’s
dismissal, Defendant will pay to Plaintiff the total sum of $ 9,000.00 paid as described below:

® = $5.000.15, made payable to LOURDES MIRLES, for damages allegedly duc

LOURDES MIRLES, which amount shall not be subject to deductions or

withholding and for which an IRS Form {099 shall issue ta LOURDES
MIRLES: and
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* $3,999.85, made payable to BURRUEZO & BURRUEZO, PLLC, as attorneys’
fees and costs incurred in connection with LOURDES MIRLES? claims under
the FLSA and for which separate [RS Forms 1099 shall issue to BURRUEZO &
BURRUEZO, PLLC and LOURDES MIRLES.

Plaintiff understands and acknowledges that she would not receive the payments
specified in this paragraph, except for her execution of this Agreement, including the Release of
FLSA claims contained herein, and her fulfillment of the promises contained herein. -

b. Defendant make no representation as to the taxability of the
amounts paid to Plaintiff! Plaintiff agrees to pay federal or state taxes, if any, which are required
by law to be paid with respect to this settlement. Moreover, Plaintiff agrees to indemnify
Defendant and hold it harmless from any interest, taxes or penalties assessed against it by any
governmental agency as a result of the non-payment of taxes on any amounts paid to Plaintiff or
her attorney under the terms of this Agreement.

4. AFFIRMATIONS. Plaintiff affirms that, upon payment of the amounts

 

set forth herein, she will have been paid and/or will have received all overtime compensation,
liquidated damages related to overtime compensation and attorneys’ fees and costs in connection
with her claims under the FLSA,

5. NO ADMISSION. Neither this Agreement nor the furnishing of the

 

consideration for this Agreement shali be deemed or construed at any time for any purpose as an
admission by the Releasees of any liability, unlawful conduct of any kind or violation by the
Releasees of the FLSA.

6. OPPORTUNITY TO REVIEW. Plaintiff acknowledges that she ts aware
that she is giving up all FLSA claims she may have against the Releasees, Plamtiff acknowledges

that she has been advised in writing to consult with an attorney, has had the opportunity to seek

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legal advice before executing this Agreement, and, in fact. sought legal advice from her counsel,
before executing this Agreement. Plaintiff signs this Agreement voluntarily.

7. WAIVER OF JURY TRIAL. Plaintiff and Defendant hereby knowingly,
voluntarily, and intentionally waive any right to a jury trial with respect to any claims for breach
of this Agreement.

8. SEVERABILITY., Except as set forth below, should any provision of this

 

Agreement set forth herein be declared illegal or unenforceable by any court of competent
jurisdiction, such that it cannot be modified to be enforceable, excluding the release language, such
provision shall immediately become null and void, leaving the remainder of this Agreement in full
force and effect.

9. VENUE AND GOVERNING LAW. This Agreement shall be governed
by the laws of the State of Florida without regard to its conflict of laws provisions. In the event of
any action arising hereunder, venue shall be proper in the United States District Court in and for
the Middle District of Florida, Orlando Division.

10. ENTIRE AGREEMENT. This Agreement sets forth the entire agreement
between Plaintiff and Defendant as to settlement of the Plaintiff's FLSA claims asserted in this
case. Plaintiff! acknowledges that she has not relied on any representations, promises, or
agreements of any kind made to her in connection with her decision to sign this Agreement, except
those set forth in this Agreement.

1 AMENDMENTS. his Agreement may not be amended, modified,

 

altered, or changed, except by a written agreement which is both signed by all parties and which

makes specific reference to this Agreement,
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12. EXECUTION IN COUNTERPARTS, This Agreement may be executed
in any number of counterparts, each of which when executed and delivered shall be considered an
original, All the counterparts together shall constitute one and the same instrument.

13. THE SIGNATORIES HAVE CAREFULLY READ THIS ENTIRE
SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS. THE PARTIES
HAVE BEEN REPRESENTED BY COUNSEL THROUGHOUT THE NEGOTIATION OF
THIS AGREEMENT AND HAVE CONSULTED WITH THEIR ATTORNEYS BEFORE
SIGNING THIS AGREEMENT. THE PARTIES FULLY UNDERSTAND THE FINAL
AND BINDING EFFECT OF THIS AGREEMENT. THE ONLY PROMISES OR
REPRESENTATIONS MADE TO ANY SIGNATORY ABOUT THIS AGREEMENT ARE
CONTAINED IN THIS AGREEMENT.

HAVING ELECTED TO EXECUTE THIS SETTLEMENT AGREEMENT
AND RELEASE OF FLSA CLAIMS, TO FULFILL THE PROMISES SET FORTH
HEREIN, AND TO RECEIVE THEREBY THE SETTLEMENT SUM AND BENEFITS
SET FORTH IN PARAGRAPH 3 ABOVE, PLAINTIFF FREELY AND KNOWINGLY
AND AFTER DUE CONSIDERATION, ENTERS INTO THIS SETTLEMENT
AGREEMENT AND RELEASE OF FLSA CLAIMS INTENDING TO WAIVE, SETTLE
AND RELEASE THE FLSA CLAIMS PLAINTIFF HAS OR MIGHT HAVE AGAINST
RELEASEES,

THE PARTIES ARE SIGNING THIS AGREEMENT VOLUNTARILY AND

JOURDES Ola bey go

KNOWINGLY.

Dated: so* No V 2020

   

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Hh
Swom to and subscribed before me this 30" day of Nov

, 2020, by

LOURDES MIRLES who is personally known to me for who has produced FL OL
as identification |.

 
  
     

 
  

SPE. RICARDO ANDINO
i oe Ai Notary Public - State of Florida
) eS 7S? — Commission # GG 234194
“SOF EQ” ~My Comm. Expires Jul 1, 2022
_ Bonded through National Notary Assn.

Dated: Avec’ ©&® . 2020

 

Notary Public. State of Florida

Print Name of Notary ;
Commission #, GGZ34LTY _ —_
Commission Expires: JU ly I+ Balt

Sj_-

GOLDEN JAK LLC, dib/a DAYS INN BY
WYNDHAM KISSIMMEE

Name: Perle vy i

Title: Pel bdr KF

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